Case 1:17-CV-00191-.].]|\/|-LDA Document 39-1 Filed 10/19/18 Page 1 of 5 Page|D #: 905

 

’xhibit A

 

k Case 1:17-cV-00191-.].]|\/|-LDA Document39-1 Filed lefILQ/‘lS\ Pageg\g)f'§ Eage+@ #: 906
'~` ?

 

 

 

AO BSB §Rev. 021}'4;1 Subpoena to P_roduce Documents, lnformation, or D`ojects or to Permit lnspection of Prcmises in a Civil Action _ _V£)
UNITED STATES DISTRICT.COURT ~ c s
o if
for the
Distriot of Rhode lsland ' Mo\§lls\y
John Doe§ a Psedoynmn ) \O\"W
Plaintz_')§* ) fsng .
7 v. ~- ) Civil Action No. 2017'191§J‘3M'LDA §,\1"
é\
Brown University §
w Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

KEEPER OF MED|CAL AND/OR PSYCH!ATR!C RECORDS, RHODE ISLAND HOSP!TAL,
593 Ed_dy Street, Providence, Rl 029034

(Name ofperso)z to whom this subpoena is directed)

6 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material: _
See Documents Requested under Sehedule A (attached hereto)

’l`o: v

 

 

 

 

§Place; Ni><on Peabody LLP gate and Time; ' §

f Attn: Steven M. Richard, Esq. §
1 :

if One Citizens P|aza, Providence, Rl 02903 1…2/20 8 10 00 am

 

..,__. ..._... .........»

ij Inspecrion ofPremz‘ses: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below,.so that the requesting party
may inspect, measure, survey, photograph test, or sample the property or any designated object or operation on it.

 

Place: Date and Titne: -‘ l

 

 

t__....__

 

 

The` following provisions of Fed. R. Civ. P. 45 are attached § Rule 45(0), relating to the place of compliance;
Rule 45 (d), relating to your protection as a person subject to a subpoena; and Rule 45(e) end (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK op coURT : 2 § )_

Signature ofC!erk or Depuly Clerk ‘ Aztorney' s signaturqu gay

 

 

'l`hc name, address, e-tnail address, and telephone number of the attorney representing (name ofparzy) BI'OWH UniV€l'Sily ___
, who 1ssues or requests this subpoena are:
Steven M. Richard Esq. (4403), Nixon Peabody, LLP, address above srichard@nixonpeabody com 401--454 1020

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents electronically stored inforrnation, or tangible things ortho
inspection of premises before trial a notice and a copy of the subpoena must be served on each party m this case before
it is served on the person to Whom it is directed Fed. R Civ. P 45(a)(4).

 

f slase 1:17-cV-00191-.].]|\/|-LDA Document 39-1 Filed 10/19/18 Page 3 of 5 Page|D #: 907
\_ `{ .

AO 883 (_Rev, 02/14) Subpoena to Produce Documents, Information, or Objects or 10 Permit inspection of Premises in a Civil Action (Page 2)

Civn Action its 2017-191-JJM-LDA

PR()OF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. I~’. 45.)

l received this subpoena for (name ofindividual and zizie, ifany)

 

on (daze)

l`j l served the subpoena by delivering a copy to the named person as follows:

 

 

on (da¢e) ` ; or

 

Ei l returned the subpoena unexecuted because;

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, lhave also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

for travel and 58 for services, for a total of $ 0.00

My fees are $ _

I declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

 

Prin!ed name and title

 

Server ‘s address

Additibnal information regarding attempted service, ete.'. '

 

j Ca§e 1:1.7-CV-00191¢.].]|\/|-LDA Document 39-1 Filed 10/19/18 Page 4 of 5 Page|D #: 908

t §

CERTIFICATE OF SERVICE

l certify that, on October 10, 2013, l served electronically a copy of this subpoena duces
tecum upon Plaintiff’ S counsel: Susan Kaplan,~ Esq. at skaplan@lawkaplan.com and Sonja Deyoe,

Esq. at sld@the-straight-shooier.com.

 

 

ja (;`ase 1:17-CV-00191-.].]|\/|-LDA Document 39-1 Filed 10/19/18 Page 5 of 5 Page|D #: 909

3'

SCH___;_WLE_A;

You are hereby requested to produce certified copies of all of the following
documents regarding '

Nam@= » _

Current Address: 637 46th Avenue,'San Francisco, CA 9412
(Formerly residing in Providence, RI as a student at Brown
University between 9/l/ 13 and 5/31/18)

1. Copies of all medical records, including but not limited to, diagnostic and treatment
records relating to mbm reflect any treatment
rendered to him for any injury, illness, disease or comp amt su ‘ered by him dated between
Sentember l. 2013 and the present This request includes records of care or treatment provided by

Kim Basu, M.D., Jamison Cohn, M.D., and Daniel Golding - all of whom as ,
identified as Witnesses having knowledge about “his physical injuries and state of mind.”

2. Copies of all mental health, psychiatric or psychological treatment records or
re orts dated between September lt 2013 and the present relating to
hincluding but not limited to any all counseling records maintained by the Adult
Psychiatric Departrnent.

 

3. Copies of all office notes, patient questionnaires/intake forrns, notations charts,
treatment notes, reports, correspondence (including any correspondence received from any third-
party such as attorneys, insurers, or other health care facilities or providers), laboratory test results,

x~ra reports, prescriptions, reports of payments and bills and any other documents relating to
_nd dated between september t., 2013 re the

present that have not been otherwise produced in response to requests numbered l and 2 above.

NOTECE: This subpoena is issued by Defendant Brown University, through its
counsel, Steven M. Richard (srichard@nixonpeabody.com, 401-454»1020) in litigation
captioned dolan Boe, a pseudonym v. Brown University, C.A. No. 2017-191-JJM~LDA (U.S.
Dist. Ct. D.R.f.). Plnintiff in the litigation is proceeding under a John Doe pseudonym. To
the extent that any motion or other court filing is submitted in connection With this subpoena,
the patient’s name should be redacted in' any public filing and revealed only in a filing under
seal. Plaintiff’s counsel are Susan Kaplan, Esc§. {skaplan@lawkaglan.com, 347-683~2505)
and Sonja Deyoe, Esq. (sld@;lre-straieht~shooter.com, 401-864-5877), in the event that the
Keeper of Records wishes to discuss any issues relating to the production of the patient’s
records in response to Brown University’s subpoena

4840-1437-7 592.1

 

 

